            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
                            2:13 CR 009-19


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                 ORDER
                                       )
ANGELA LEIGH WIKE.                     )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the

undersigned at the close of a Rule 11 proceeding that was held before this Court on

November 22, 2013. It appearing to the Court at the call of this matter on for

hearing the Defendant was present with her attorney, Jack W. Stewart and the

Government was present and represented through Assistant United States Attorney

Tom Ascik. From the arguments of counsel for Defendant and the arguments of

the Assistant United States Attorney and the records in this cause, the Court makes

the following findings:

      Findings.    On May 21, 2013 a bill of indictment was issued charging the

Defendant with conspiracy to traffic in methamphetamine, in violation of 21

U.S.C. § 841(a)(1) and 846. Defendant was also charged in two separate counts

with distributing methamphetamine in violation of 21 U.S.C. § 841(a)(1). On

November 22, 2013, the undersigned held and inquiry, pursuant to Rule 11 of the

                                        1



   Case 2:13-cr-00009-MR-WCM       Document 238     Filed 11/26/13   Page 1 of 3
Federal Rules of Criminal Procedure and accepted a plea of guilty of the Defendant

to the charge of conspiracy to traffic in methamphetamine as contained in count

one of the bill of indictment. At the end of the Rule 11 proceeding, this Court

presented the issue of whether or not Defendant should now be detained, pursuant

to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or
      (C) of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

            (ii) an attorney for the Government has recommended that no
            sentence of imprisonment be imposed on the person; or

            (B) the judicial officer finds by clear and convincing evidence
            that the person is not likely to flee or pose a danger to any other
            person or the community.

      From an examination of the records in this cause, it appears Defendant has

now entered a plea of guilty to conspiracy to violate 21 U.S.C. § 841(a)(1). That

crime is one of the crimes that is referenced under 18 U.S.C. § 3142(f)(1)(C). The

undersigned made an inquiry of Assistant United States Attorney Tom Ascik as to

whether or not there will be a recommendation that no sentence of imprisonment

be imposed upon Defendant.          Mr. Ascik advised the Court that such a

                                          2



   Case 2:13-cr-00009-MR-WCM        Document 238      Filed 11/26/13   Page 2 of 3
recommendation could not be made in this matter. As a result of the plea of guilty,

the undersigned cannot find there is a likelihood that a motion for acquittal or new

trial will be granted. It would thus appear, and the Court is of the opinion that the

Court is required by law to apply the factors as set forth under 18 U.S.C. §

3143(a)(2) which mandate the detention of Defendant.

                                      ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release are hereby REVOKED and it is ORDERED that Defendant be detained

pending further proceedings in this matter.

                                                     Signed: November 26, 2013




                                         3



   Case 2:13-cr-00009-MR-WCM        Document 238     Filed 11/26/13        Page 3 of 3
